Case 2:21-mc-01230-JFC   Document 3048-1   Filed 12/03/24   Page 1 of 6




           Exhibit A
     Case 2:21-mc-01230-JFC           Document 3048-1         Filed 12/03/24      Page 2 of 6




                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: PHILIPS RECALLED CPAP, BI-
  LEVEL PAP, AND MECHANICAL
  VENTILATOR PRODUCTS LITIGATION

  IN RE: SOCLEAN, INC., MARKETING,                           Master Docket Nos: 21-mc-1230
  SALES PRACTICES AND PRODUCTS                               and 22-mc-152
  LIABILITY LITIGATION                                       MDL Nos. 3014 and 3021

  This document relates to: Contribution Claims
  and Assigned Claims

  THE PHILIPS PARTIES’ REPLY IN SUPPORT OF THEIR MOTION TO COMPEL

       The Philips parties submit this brief reply in response to SoClean’s Opposition to the

Philips parties’ Motion.

       First, the Motion is fundamentally about coordinating proceedings between SoClean and

the Philips parties, thereby facilitating efficiencies and reducing party expenditures. While the

MDLs are separate, they are factually intertwined, which led this Court to direct the parties to

coordinate discovery to avoid duplication. See SoClean MDL Conf. Tr. (Aug. 22, 2024) at 22:4–

11 (“You’re not going to have to re-do discovery that has already occurred. . . . [Y]ou’ll keep the

two MDLs separate but coordinated.”); id. at 38:18–39:6 (“[W]hether you call it an assignment or

a contribution or you’re saying that Philips, your devices were harmed by those and, therefore, you

have direct claims there, it’s sort of all around the same issue. . . . Those issues are all there.

You’re not going to be able to duplicate that discovery over and over again.”). SoClean’s new

counsel’s refusal to participate in even the most basic aspects of these cases, such as participating

in a Rule 26(f) conference, ignores the Court’s repeated directives to coordinate.

       And if the Court’s prior guidance was not clear enough, the Court’s advice to SoClean at

the November 13, 2024 case management conference was unmistakable: “SoClean is the party so
     Case 2:21-mc-01230-JFC           Document 3048-1          Filed 12/03/24      Page 3 of 6




their new counsel would have to participate in any conference or proceeding that’s related to the

matters that they are involved with as counsel.” SoClean MDL Conf. Tr. (Nov. 13, 2024) at 10:20–

23; see also id. at 11:15–17 (Mr. Koons: “SoClean, with respect to the claims at issue, should be

meeting and conferring under Rule 26.” The Court: “That would be my understanding.”); id. at

12:9–10 (“[I]f you are the party . . . you have to participate period.”).1 Despite the Court’s clear

direction, SoClean nonetheless filed its Opposition, causing further delay, and asserted

unsupported arguments necessitating this reply.

       Second, SoClean inaccurately and hyperbolically states that the Philips parties’ motion is

designed to facilitate “all-out war” and “full merits discovery.” Opp. at 2. It is neither. This is a

good faith attempt at following the Court’s directive to keep the MDLs coordinated in order to

save resources. In fact, as the Motion explains and the Opposition ignores, much of the discovery

relevant to the assigned and contribution claims has already occurred. What remains is not the

“full merits discovery” imagined by SoClean, but rather, only the limited, incremental discovery

necessary for those claims.2 For instance, while the impact of SoClean’s ozone on PAP foam is

well known from discovery in the business-to-business action, SoClean has not yet responded to

discovery concerning (i) ozone’s impact on PAP accessories (relevant to the assigned claims),




1
  As the Philips parties agreed at the Case Management Conference on November 13, 2024, they
are not seeking to compel any party other than SoClean, Inc. to participate in discovery
proceedings at this time. SoClean MDL Conf. Tr. (Nov. 13, 2024) at 10:20–11:16. SoClean is
not disputing personal jurisdiction on the contribution claims. While SoClean has asserted a
baseless challenge to personal jurisdiction on the assigned claims (after litigating in this Court for
three years), the Philips parties have not asserted an alter-ego theory of personal jurisdiction over
SoClean. In any event, KPNV participated in merits discovery during the pendency of its personal
jurisdiction challenge.
2
  The Philips parties have explained this point to new counsel for SoClean during several phone
calls, so it was surprising to see SoClean claim in its Opposition that the Philips parties were
seeking “full merits discovery” through this Motion. Opp. at 2.


                                                 -2-
     Case 2:21-mc-01230-JFC           Document 3048-1          Filed 12/03/24      Page 4 of 6




(ii) the extent to which residual ozone remains in the PAP after a SoClean ozone cycle (relevant

to the contribution claims, which focus on direct ozone inhalation), and (iii) the extent to which

SoClean’s ozone escapes from the PAP and enters the user’s room (again, relevant to the

contribution claims). The Philips parties seek SoClean’s participation in a Rule 26(f) conference

so this limited incremental discovery can commence.3 A request for SoClean to comply with the

Federal Rules is nothing akin to “wag[ing] all-out war.” Opp. at 3.4

       Third, SoClean argues the Philips parties are responsible for any delay because they did

“not file the Class Action Complaint and the Third-Party Complaint until the litigation in these

MDLs had been pending for nearly three years.”                Opp. at 5.       This is yet another

mischaracterization. The Philips parties of course did not, and could not, file the assigned claims

earlier; they did not own those claims until the Economic Loss Settlement became final on May

28, 2024.5 And as for the contribution claims, it was SoClean’s stalling tactics that precluded the




3
 The Philips parties recognize that for the contribution claims, bellwethers ultimately will need to
be selected, and there will need to be individualized discovery at the appropriate time on those
bellwethers. But that is not what the Motion is about. The Philips parties only seek to take
generally applicable discovery at this time, not bellwether-specific discovery. In fact, the Court
has already made clear that bellwethers will not be selected until a later date, after the termination
date for the Personal Injury Settlement has passed. SoClean MDL Conf. Tr. (Sept. 19, 2024) at
14:15–17 (“[Y]ou don’t pick bellwether cases until you know who’s in and who’s out.”).
4
  SoClean also complains of “the disparity in the parties’ resources” and its “precarious financial
situation.” Opp. at 3 n.1. But even setting aside SoClean’s litigation funding, SoClean is suing
the Philips parties for $200 million for making truthful statements about the impacts of ozone.
And while SoClean’s claims are baseless and inflated, the Philips parties are allowed to pursue
claims that, as here, would offset any hypothetical recovery by SoClean.
5
  On April 25, 2024, the Court entered its Order Granting Final Approval of Class Settlement.
MDL 3014, ECF No. 2736. The appeal period expired on May 28, 2024. Fed. Rs. Civ. P.
4(a)(1)(A) and 6(a)(1)(C).


                                                 -3-
     Case 2:21-mc-01230-JFC           Document 3048-1          Filed 12/03/24      Page 5 of 6




Philips parties from proceeding on those claims earlier.6 In fact, denial of this Motion will likely

guarantee delay, requiring these MDLs to remain open for longer than they otherwise would need

to remain open. See SoClean MDL Conf. Tr. (Aug. 22, 2024) at 24:9–13 (“Onto the case

scheduling. . . . Let me start off by saying, the litigation is now coming up to its third year. It is

not going to be delayed. Anything that I see as pushing, pushing the time frames down, we’re not

going to do.”).

       Finally, SoClean does not explain why it should play by different rules than those that

applied when SoClean took discovery of the Philips parties when Philips’ motions to dismiss were

pending. Philips’ motions also sought dismissal of all of SoClean’s claims, just like SoClean is

now seeking dismissal of all of Philips’ claims. SoClean was perfectly happy to proceed with

discovery on its claims during the pendency of the Philips parties’ motions to dismiss, and SoClean

cannot have it both ways.

       For these reasons, the Court should reject SoClean’s attempts to stall the Philips parties’

claims while SoClean proceeds with its own claims against the Philips parties, and grant the

Motion to Compel.




6
  As the Court will likely remember, at the beginning of this year, SoClean sought to prevent the
Philips parties from even bringing their contribution claims, ultimately requiring an R&R from
Special Master Katz and then an Order from the Court. See MDL 3014, ECF Nos. 2647, 2675,
2708, 2728, 2733, 2740, 2745. Then, following the filing of the Complaint, SoClean caused
further delay by challenging the Philips parties’ use of SoClean’s documents under the protective
orders. MDL 3014, ECF Nos. 2961, 2975; MDL 3021, ECF Nos. 692, 702. Then, new counsel
for SoClean appeared, creating more delay. MDL 3014, ECF No. 2970; MDL 3021, ECF No. 687.
And now, with all that finally done, SoClean is still refusing to participate in discovery, even after
the Court’s statements at the November 13, 2024 case management conference.


                                                 -4-
    Case 2:21-mc-01230-JFC         Document 3048-1         Filed 12/03/24   Page 6 of 6




Dated: December 3, 2024                         Respectfully submitted,

/s/ Michael H. Steinberg                         /s/ Erik T. Koons
Michael H. Steinberg (CA Bar No. 134179)        Erik T. Koons (NY Bar No. 2941102)
(steinbergm@sullcrom.com)                       (erik.koons@bakerbotts.com)
SULLIVAN & CROMWELL LLP                         BAKER BOTTS LLP
1888 Century Park East                          700 K Street, NW
Los Angeles, CA 90067                           Washington, DC 20001
Tel: (310) 712-6670                             Tel: (202) 639-7973
Fax: (310) 712-8800                             Fax: (202) 585-1086

 /s/ Tracy Richelle High                         /s/ Andrew T. George
Tracy Richelle High (NY Bar No. 3020096)        Andrew T. George (PA Bar No. 208618)
(hight@sullcrom.com)                            (andrew.george@bgblawyers.com)
William B. Monahan (NY Bar No. 4229027)         BOURELLY, GEORGE + BRODEY PLLC
(monahanw@sullcrom.com)                         1050 30th Street, NW
SULLIVAN & CROMWELL LLP                         Washington, DC 20007
125 Broad Street                                Tel: (202) 753-5012
New York, NY 10004-2498                         Fax: (703) 465-8104
Tel: (212) 558-4000
Fax: (212) 558-3588                             Counsel for Philips RS North America LLC

Counsel for Koninklijke Philips N.V., Philips
North America LLC, Philips Holding USA Inc.,
and Philips RS North America Holding
Corporation




                                            -5-
